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AO 91 (Rev. 11/11) Criminal Complaint


                                     U NITED STATES DISTRICT COURT
                                                               for the
                                                         District of Oregon

                  United St.ates of America                       )
                               V.                                 )
                                                                  )      Case No.      3:25-mj-00163
          GINOVANNI JOSEPH BRUMBELOW                              )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, st.ate that the following is trne to the best of my knowledge and belief.
On or about the dat.e(s) of                  June 14, 2025               in the county of               Multnomah         in the
                       District of           Oregon           , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. Section 111 (a)                      Assault on a Federal Officer




         This criminal complaint is based on these facts:
See the Attached Affidavit of Federal Bureau of Investigations Special Agent-                       .




         ~ Continued on the attached sheet.

                                                                                /s/ by phone pursuant to Fed. R. Crim. P. 4.1
                                                                                             Complainant's signature

                                                                         _ _ _ _ _F_BI_S~A-                           ~---
                                                                                             Printed name and title

Attested to by the ap p ~ in accordance with the requirements of Fed. R. Crim. P.
telephone at 9:02 ~      /p.m.

Date:         June 16, 2025
                                                                                                Judge's signature

City and state:                          Portland, OR                             U.S. Magistrate Judge Stacie Beckerman
                                                                                             Printed name and title
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DISTRICT OF OREGON, ss:                AFFIDAVIT OF

               Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I,               , being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been since
             -     2022. As a Special Agent of the FBI, I am authorized to investigate and

enforce violations of the laws of the United States, collect evidence in cases in which the United

States is or may be a party in interest, and perform other duties imposed by law. My current

assignment is with the FBI Portland Field Office,




                                                                                    .

       2.       I submit this affidavit in support of a criminal complaint and arrest warrant for

GINOVANNI JOSEPH BRUMBELOW, for Assaulting a Federal Officer in violation of 18

U.S.C. § 111(a)(1). As set forth below, there is probable cause to believe, that GINOVANNI

JOSEPH BRUMBELOW committed Assaulting a Federal Officer (Felony), in violation of 18

U.S.C. § 111(a)(1).

       3.       The facts set forth in this affidavit are based on the following: my own personal

knowledge; information obtained from other individuals during my participation in this

investigation, including other law enforcement officers; interviews of witnesses; my review of


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records related to this investigation; communication with others who have knowledge of the

events and circumstances described herein; and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111(a)(1) makes it an offense to forcibly assault, resist, oppose,

impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in

or on account of the performance of official duties. Persons designated in § 1114 include any

officer or employee of the United States or of any agency in any branch of the United States

government while such officer or employee is engaged in or on account of the performance of

official duties, and any person assisting such an officer or employee in the performance of

official duties. Under § 111(a), simple assault is a misdemeanor, but where the assaultive acts

involve physical contact with the victim, the offense is a felony punishable by imprisonment up

to 8 years.

                                   Statement of Probable Cause

       5.      Since June 4, 2025, protests have occurred at the U.S. Immigration and Customs

Enforcement (ICE) field office located at 4310 S Macadam Ave in Portland, Oregon. During

daylight hours, some of the attendees at the demonstration have harassed both ICE clients and

employees by following them with cameras making disparaging remarks and threatening

statements, including stating that they know where the target lives or that they will find the target

of harassment. Many of these individuals dress in all black clothing, commonly referred to as


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“black bloc.” Black bloc can prevent identification of individual actors by authorities. After

nightfall, the attendees generally become more aggressive, damaging personal and government

property, throwing items toward federal law enforcement officers, and at times physically

assaulting officers. The violence towards officers has included discharging pepper spray at

officers as well as throwing rocks, trash, and bricks pulled from the ICE facility’s driveway.

Photos of the front of the ICE facility are below:




       6.      On June 14, 2025, thousands of people engaged in peaceful protests in Portland,

Oregon. At approximately 1 p.m., individuals began gathering around the ICE building. Many

were dressed in black bloc and some were wearing masks. Some targeted the building with

mortar fireworks, rocks, bricks, and glass bottles. Fires were also started in multiple locations in

close proximity to the building. At approximately 5:50 p.m., individuals breached the exterior

door to the ICE building and entered the lobby before being pushed back by federal officers.

Additional federal officers, including Customs and Border Protection Tactical Unit (BORTAC)

agents, were dispatched to the location. At approximately 6:30 p.m., the Portland Police Bureau

(PPB) announced a riot declaration was in effect via sound truck to an assembled crowd of




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protesters, an estimated 300-400 individuals, for the areas near S Moody Avenue and S Bancroft

Avenue. A map of the affected area is pictured below.




       7.      At or around 8:00 p.m., Adult Victim (AV), a BORTAC Agent, was assisting

with arresting a protest participant who had been throwing rocks at officers. He felt a sharp pain

in the back of his head. AV let go of the individual he was arresting and observed an

unidentified male protest participant holding a wooden stake with a sign attached with a pointed

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end directed at him. AV described the male as white, slim build, with long hair, wearing both a

green and black sweatshirt, black jeans, black shoes, and a painter’s mask. This individual was

later identified as GINOVANNI JOSEPH BRUMBELOW. Still frames of the surveillance

footage that captured the incident are below, with blue arrows indicating the position of

BRUMBELOW and red arrows indicating the position of AV:




       8.      AV then grabbed BRUMBELOW and was assisted by another officer in taking

BRUMBELOW into custody. BRUMBELOW was subsequently booked into the Multnomah

County Detention Center and charged with one count of 18 U.S.C. § 111(a)(1).
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       9.      AV sustained a wound on the back of his head, as shown below.




                                               Conclusion

       10.     Based on the foregoing, I have probable cause to believe, that GINOVANNI

JOSEPH BRUMBELOW committed Assaulting a Federal Officer (Felony), in violation of 18

U.S.C. § 111(a)(1). I therefore request that the Court issue a criminal complaint and arrest

warrant for GINOVANNI JOSEPH BRUMBELOW.

       11.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by an Assistant United States Attorney (AUSA), and the

AUSA advised me that in their opinion the affidavit and complaint are legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

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               --                                                                              Page 6
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                                        Request for Sealing

       #.       It is respectfully requested that the Court issue an order sealing, until fmther order

of the Comt, all papers submitted in support of the requested criminal complaint and arrest

wairnnt. I believe that sealing these documents is necessru.y because the info1mation to be seized

is relevant to an ongoing investigation, and any disclosure of the info1mation at this time may

cause destruction of or tampering with evidence, cause intimidation of potential witnesses, or

othe1wise seriously jeopardize an investigation. Premature disclosure of the affidavit, the

criminal complaint, and the anest warrant may adversely affect the integrity of the investigation.

                                                      ~              suanttoFed.R. Crim. P. 4. 1

                                                      ~ t, FBI

       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

      9:02           ~      .m. on _ J_u_    6 ____, 20 25 .
                                        ne_ 1_


---                                                         =atit                 ecter.
                                                       HONORABLE STACIE F. BECKE~~-~-~
                                                       United States Magistrate Judge




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